Michael B. Baylous, ABA No. 0905022
LANE POWELL LLC
301 West Northern Lights Boulevard, Suite 301
Anchorage, Alaska 99503-2648
Telephone: 907-264-3303
Facsimile: 907-276-2631
Email:       BaylousM@LanePowell.com
Attorneys for Defendant



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA AT FAIRBANKS
DENNIS BATES,

                                     Plaintiff,

v.                                                    Case No. 4:16-cv-_______________

METROPOLITAN LIFE INSURANCE
COMPANY,                                                       NOTICE OF REMOVAL

                                   Defendant.
         Pursuant to 28 U.S.C. §§ 1332 and 1441, Defendant Metropolitan Life Insurance
Company (“MetLife”)1 gives notice of the removal of the above-captioned action, currently
pending in the Superior Court for the State of Alaska, Fourth Judicial District at Fairbanks, under
Case No. 4FA-16-01266 CI, to the United Stated District Court for the District of Alaska.
         1.      On or about January 19, 2015, Plaintiff filed his Complaint with the Clerk of the
Superior Court for the State of Alaska in the Fourth Judicial District at Fairbanks. True and
correct copies of the Summons and Complaint are attached as Ex. A and Ex. B, respectively.
Plaintiff’s complaint stems from a 1927 life insurance policy. [Compl. at 1] Plaintiff seeks
“punitive damages in the amount of $20,000,000 . . . .” [Compl. at 2]
         2.      Plaintiff alleges he is a resident of the State of Alaska. [Compl. at 2.] MetLife is
a corporate resident of New York City, New York, with its principal executive offices at 200
Park Avenue, New York, New York.




1
    Improperly named as “Metropolition Ins. Company.”



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           3.         28 U.S.C. § 1332(a) provides in relevant part: “The district courts shall have
original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value
of $75,000, exclusive of interest and costs, and is between — (1) citizens of different States[.]”
28 U.S.C. § 1441(a) provides that “any civil action brought in a State court of which the district
courts of the United States have original jurisdiction, may be removed by the defendant or the
defendants, to the district court of the United States for the district and division embracing the
place where such action is pending.”
           4.         Complete diversity of citizenship exists between the parties, and the amount in
controversy exceeds $75,000. Thus, this Court has jurisdiction over this action pursuant to
28 U.S.C. § 1332. Accordingly, this action is removable to this Court pursuant to 28 U.S.C.
§ 1441.
           5.         This Court is the United States District Court of the district and division within
which Plaintiff’s action is pending. See 28 U.S.C. § 1441(a).
           6.         The Complaint was served through CT Corporation on January 29, 2016. A true
and correct copy of the Service of Process Transmittal is attached as Exhibit C. Therefore,
pursuant to 28 U.S.C. § 1446(b), this notice of removal is timely, as it is being filed within 30
days after “receipt by the defendant, through service or otherwise, of a copy of an amended
pleading, motion, order or other paper from which it may first be ascertained that the case is one
which is or has become removable.”
           7.         A copy of this notice is being concurrently filed in the Superior Court of Alaska
for the Fourth Judicial District at Fairbanks and concurrently served upon the Plaintiff pursuant
to 28 U.S.C. § 1446(d).
           DATED this 24th day of February, 2016.

                                                       LANE POWELL LLC
                                                       Attorneys for Defendant

                                                       By s/ Michael B. Baylous
                                                         Michael B. Baylous, ABA No. 0905022
I certify that on February 24, 2016, a copy of
the foregoing was served by mail on:
Dennis Bates
PO Box 61105, Fairbanks, AK 99706

s/ Michael B. Baylous
122426.0017/6605555.1



Notice of Removal
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